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Proposed Intervenor

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
WESTERN WATERSHEDS PROJECT, Lead Case
etal. CV 24-86-M-DWM
Plaintiffs, Member Case
CV-24-87-M-DWM
and CV-24-97-M-DWM
CENTER FOR BIOLOGICAL

DIVERSITY, et al.,
Consolidated Plaintiffs,

VS.

UNITED STATES FISH AND
WILDLIFE SERVICE, et al.,

Defendants,

SPORTSMEN’S ALLIANCE
FOUNDATION, et al.,

Intervenor-Defendants,

DEFENDANT-INTERVENORS’ ANSWER TO PLAINTIFFS’ COMPLAINT-I

DEFENDANT-INTERVENORS’

ANSWER TO PLAINTIFFS’
COMPLAINT
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STATE OF MONTANA and
MONTANA DEPARTMENT OF FISH,
WILDLIFE AND PARKS,

Defendant Intervenors Applicants.

Defendant Intervenors, State of Montana and Montana Fish, Wildlife and
Parks (together, “Montana’) answer Plaintiffs’ complaint and assert its affirmative
defenses as follows for the Lead Case of this matter, CV 24-87-M-DWM.

INTRODUCTION

1. Paragraph 1 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those
allegations are denied.

2. Paragraph 2 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those
allegations are denied.

3. Paragraph 3 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those
allegations are denied.

4, Montana admits the allegations in Paragraph 4.

5. Montana admits the allegations in the first sentence of Paragraph 5.

The allegations in remaining sentences of Paragraph 5 purport to describe and

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characterize the contents of the SSA, which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with the
plain language, meaning or context of the SSA.

6. The allegations in Paragraph 6 purport to describe and characterize the
decision in Defenders of Wildlife v. U.S. Fish & Wildlife Serv., 584 F. Supp. 3d
812 (N.D. Cal. 2022), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context.

7. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in the first sentence of Paragraph 7 and denies
them on that basis. Montana denies the remaining allegations in Paragraph 7.

JURISDICTION

8. Paragraph 8 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

9. Paragraph 9 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

10. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 10 and denies them on that basis.

11. Paragraph 11 is a conclusion of law that requires no response. If a

response is required, those allegations are denied.

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12. Paragraph 12 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

13. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 13 and denies them on that basis.

PARTIES

14. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
14 concerning the interests, membership, and activities of Plaintiff Western
Watersheds Project, and denies them on that basis. The fifth sentence of Paragraph
14 identifies Plaintiffs’ action, and no response is required. If a response is
required, those allegations are denied.

15. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first, second and third sentences of
Paragraph 15 concerning the interests, membership, and activities of Plaintiff
International Wildlife Coexistence Network, and denies them on that basis. The
fourth sentence of Paragraph 15 identifies Plaintiffs’ action, and no response is
required. If a response is required, those allegations are denied.

16. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph

16 concerning the interests, membership, and activities of Plaintiff Wildearth

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Guardians, and denies them on that basis. The fifth sentence of Paragraph 16
identifies Plaintiffs’ action, and no response is required. If a response is required,
those allegations are denied.

17. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
17 concerning the interests, membership, and activities of Plaintiff Nimipuu
Projecting the Environment (“Nimipuu”), and denies them on that basis. The fifth
sentence of Paragraph 17 identifies Plaintiffs’ action, and no response is required.
If a response is required, those allegations are denied.

18. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
18 concerning the interests, membership, and activities of Plaintiff Alliance for the
Wild Rockies, and denies them on that basis. The fifth sentence of Paragraph 18
identifies Plaintiffs’ action, and no response is required. If a response is required,
those allegations are denied.

19. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
19 concerning the interests, membership, and activities of Plaintiff Friends of the

Clear Water, and denies them on that basis. The fifth sentence of Paragraph 19

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identifies Plaintiffs’ action, and no response is required. If a response is required,
those allegations are denied.

20. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
20 concerning the interests, membership, and activities of Plaintiff Wilderness
Watch, and denies them on that basis. The fifth sentence of Paragraph 20 identifies
Plaintiffs’ action, and no response is required. If a response is required, those
allegations are denied.

21. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third and fourth sentences of Paragraph
21 concerning the interests, membership, and activities of Plaintiff Predator
Defense, and denies them on that basis. The fifth sentence of Paragraph 21
identifies Plaintiffs’ action, and no response is required. If a response is required,
those allegations are denied.

22. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first, second and third sentences of
Paragraph 22 concerning the interests, membership, and activities of Plaintiff Trap
Free Montana (“Trap Free”), and denies them on that basis. The fourth sentence of
Paragraph 22 identifies Plaintiffs’ action, and no response is required. If a response

is required, those allegations are denied.

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23. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first, second, third, fourth and fifth sentences of
Paragraph 23 concerning the interests, membership, and activities of Plaintiff
Protect the Wolves, and denies them on that basis. The sixth sentence of Paragraph
23 identifies Plaintiffs’ action, and no response is required. If a response is
required, those allegations are denied.

24. The first part of Paragraph 24 identifies Plaintiff's action, and no
response is required. If a response is required, those allegations are denied.
Montana lacks knowledge and information to form a belief as to the truth of the
allegations in the second part of Paragraph 24 concerning the interests,
membership, and activities of Plaintiff's, and denies them on that basis.

25. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 25 and denies them on that basis.

26. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 26 and denies them on that basis.

27. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 27 and denies them on that basis.

28. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 28 and denies them on that basis.

29. Montana denies the allegations in Paragraph 29.

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30. Montana denies the allegations in Paragraph 30.

31. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 31 and denies them on that basis.

32. Montana admits the allegation in the first sentence of Paragraph 32.
The allegation in the second sentence of Paragraph 32 are legal conclusions to
which no response is required. To the extent a response is required, Montana
denies the allegations.

33. Montana admits the allegations in Paragraph 33.

34. Montana admits the allegations in the first sentence of Paragraph 34.
The allegations in the second sentence of Paragraph 34 are legal conclusions to
which no response is required. To the extent a response is required, Montana
denies the allegations.

35. Montana admits the allegations in Paragraph 35.

BACKGROUND
The Gray Wolf (Canis Lupus)

36. Montana admits the allegations in the first sentence of Paragraph 36.
Montana lacks information and knowledge sufficient to form a belief as to the truth
of the allegations in the second sentence of Paragraph 36 concerning who took the
photo provided in this Paragraph and denies them on that basis.

37. Montana admits the allegations in Paragraph 37.

DEFENDANT-INTERVENORS’ ANSWER TO PLAINTIFFS’ COMPLAINT-8
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Montana admits the allegations in Paragraph 38.
Montana admits the allegations in Paragraph 39.
Montana admits the allegations in Paragraph 40.
Montana admits the allegations in Paragraph 41.
Montana admits the allegations in Paragraph 42.
Montana admits the allegations in Paragraph 43.

The allegations in Paragraph 44 are too subjective, vague,

exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

The Gray Wolf’s Decline in the Contiguous United States

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Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegations in the first sentence of Paragraph 45 and denies

them on that basis. Montana admits the allegations in the second sentence of

Paragraph 45.
46. Montana admits the allegations in Paragraph 46.
47. Montana admits the allegations in Paragraph 47.
48. Montana admits the allegations in Paragraph 48.
49. Montana admits the allegations in Paragraph 49.
50. Montana admits the allegations in Paragraph 50.
51. Montana admits the allegations in Paragraph 51.

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52. Montana admits the allegations in Paragraph 52.

53. Montana admits the allegations in Paragraph 53.

54. Montana admits the allegations in Paragraph 54.

55. Montana admits the allegations in Paragraph 55.

56. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 56 concerning who took the photo
provided in this Paragraph and denies them on that basis.

57. Montana admits the allegations in Paragraph 57.

58. Montana admits the allegations in Paragraph 58.

The Gray Wolf’s Listing History Under the ESA

59. Montana admits the allegations in Paragraph 59.

60. Montana admits the allegations in Paragraph 60.

61. Montana admits the allegations in Paragraph 61.

62. Montana admits the allegations in Paragraph 62.

63. Montana denies the allegations in Paragraph 63.

64. Montana admits the allegations in Paragraph 64.

65. The allegations in Paragraph 65 purport to describe and characterize
the decisions in Defenders of Wildlife v. Secretary, U.S. Dep’t of the Interior, 354
F.Supp.2d 1156 (D. Or. 2005) (“Oregon Wolves”), and Nat’l Wildlife Fed’n v.

Norton, 386 F.Supp.2d 553 (D. Vt. 2005) (“Vermont Wolves”), which speak for

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themselves and are the best evidence of their contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context of those
decisions.

66. The allegations in Paragraph 66 purport to describe and characterize
the decision in Oregon Wolves, which speaks for itself and is the best evidence of
its contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context of the decision.

67. The allegations in Paragraph 67 purport to describe and characterize
the decision in Vermont Wolves, which speaks for itself and is the best evidence of
its contents. Montana denies allegations inconsistent with the plain language,
meaning, or context of the decision.

68. Montana admits the allegations in Paragraph 68.

69. The allegations in Paragraph 69 purport to describe and characterize
the decision in Human Soc’y of the United States v. Kempthorne, 579 F.2d 7
(D.D.C. 2008), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or
context of the decision.

70. Montana admits the allegations in Paragraph 70.

71. The allegations in Paragraph 71 purport to describe and characterize

the decision in Defenders of Wildlife v. Hall, 565 F. Supp. 2d 1160 (D. Mont.

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2008), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context of
the decision.

72. Montana admits the allegations in Paragraph 72.

73. The allegations in Paragraph 73 purport to describe and characterize
the decisions in Humane Soc’y of the United States v. Salazar, 1:09-CV-1092-PLF
(D.D.C. 2009) and Defenders of Wildlife v. Salazar, 729 F.Supp.2d 1207 (D. Mont.
2010), which speak for themselves and are the best evidence of their contents.
Montana denies any allegations inconsistent with the plain language, meaning, or
context of the decisions.

74. Montana admits the allegations in Paragraph 74.

75. Montana admits the allegations in Paragraph 75.

76. The allegations in Paragraph 76 purport to describe and characterize
the decisions in Humane Soc’y of the United States v. Jewell, 76 F.Supp. 69, 110
(D.D.C. 2014) and Humane Soc’y of the United States v. Zinke, 865 F.3d 858 (D.C.
Cir. 2017), which speak for themselves and are the best evidence of their contents.
Montana denies any allegations inconsistent with the plain language, meaning or
context of the decisions.

77. The allegations in Paragraph 77 purport to describe and characterize

the decision in Humane Soc’y of the United States v. Zinke, 865 F.3d 585, which

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speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context of the
decision.

78. Montana admits the allegations in Paragraph 78.

79. The allegations in the first and second sentences of Paragraph 79
purport to describe and characterize the decisions in Defenders of Wildlife v.
Jewell, 68 F. Supp. 3d 193 (D.D.C. 2014), and Defenders of Wildlife v. Zinke, 849
F.3d 1077 (D.C. Cir. 2017), which speak for themselves and are the best evidence
of their contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context of the decision. Montana admits the allegations in
the third sentence of Paragraph 79.

80. Montana admits the allegations in Paragraph 80.

81. The allegations in Paragraph 81 purport to describe and characterize
the decision in Defenders of Wildlife v. U.S. Fish & Wildlife Serv., 584 F. Supp. 3d
812 (N.D. Cal. 2022), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context of the decision.

82. Montana admits the allegations in Paragraph 82.

83. Montana admits the allegations in Paragraph 83.

State Management of Gray Wolves

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84. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 84 and denies them on that basis.

85. Montana admits the allegations in the first sentence of Paragraph 85.
Montana lacks information and knowledge sufficient to form a belief as to the truth
of the remaining allegations in Paragraph 85 and denies them on that basis.

86. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 86 and denies them on that basis.

87. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 87 and denies them on that basis.

88. Montana admits the allegations in Paragraph 88.

89. Montana admits the allegations in Paragraph 89.

90. Montana admits the first two sentences in Paragraph 90. Montana
lacks information and knowledge sufficient to form a belief as to the truth of the
remaining allegations in Paragraph 90 and denies them on that basis.

91. Montana admits the first two sentences of Paragraph 91. Montana
lacks information and knowledge sufficient to form a belief as to the truth of the
remaining allegations in Paragraph 91 and denies them on that basis.

92. Montana admits the first two sentences of Paragraph 92. Montana
lacks information and knowledge sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 92 and denies them on that basis.

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93. Montana denies the allegations in Paragraph 93.

94. Montana admits the allegations in Paragraph 94.

95. Montana admits the allegations in Paragraph 95.

96. Montana admits the allegations in Paragraph 96.

97. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 97 and denies them on that basis.

98. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 98 and denies them on that basis.

99. Montana admits the allegations in the first sentence of Paragraph 99.
Montana lacks information and knowledge sufficient to form a belief as to the truth
of the allegations in the second and third sentence of Paragraph 99 and denies them
on that basis.

100. Montana admits the allegations in Paragraph 100.

101. Montana admits the allegations in Paragraph 101.

102. Montana admits the allegations in Paragraph 102.

103. The allegations in Paragraph 103 purport to describe and characterize
the 2023 draft plan, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or

context of the plan.

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104. The allegations in Paragraph 104 purport to describe and characterize
the 2023 draft plan, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or
context of the plan.

105. Montana admits the allegations in the first and second sentence of
Paragraph 105. The allegations in the third sentence of Paragraph 105 purport to
describe and characterize § 87-6-214, MCA, which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context of the statute.

106. Montana partially admits in the first sentence of Paragraph 106 that in
2012-2013, trapping was added as a legal method of take of wolves, hunting
seasons were extended, but denies that statewide harvest limits were removed.
Montana admits the allegations in the second sentence of Paragraph 106.

107. Montana admits the allegations in Paragraph 107.

108. The allegations in Paragraph 108 purport to describe and characterize
§§ 87-1-901, 87-1-304, and 87-6-214, MCA, which speak for themselves and are
the best evidence of their contents. Montana denies any allegations inconsistent
with the plain language, meaning, or context of the statutes.

109. Montana denies the allegations in Paragraph 109.

110. Montana denies the allegations in Paragraph 110.

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111. Montana denies the allegations in Paragraph 111.

112. Montana admits the allegations in Paragraph 112.

113. Montana admits the allegations in Paragraph 113.

114. Montana admits the allegations in Paragraph 114.

115. Montana denies the first sentence of Paragraph 115. Montana lacks
information and knowledge sufficient to form a belief as to the truth of the
allegations in the second and third sentences of Paragraph 115 and denies them on
that basis. The allegations in the fourth sentence of Paragraph 115 purport to
describe and characterize Cassidy et al. (2023), which speaks for itself and is the
best evidence of its contents. Montana denies any allegations inconsistent with the
plain language, meaning, or context of the article.

116. Montana admits the first sentence of Paragraph 116. Montana denies
the remaining allegations in Paragraph 116.

117. The allegations in Paragraph 117 purport to describe and characterize
Crabtree et al. (2023), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context of the article.

118. The allegations in Paragraph 118 purport to describe and characterize

Creel. (2021), which speaks for itself and is the best evidence of its contents.

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Montana denies any allegations inconsistent with the plain language, meaning, or
context of the article.
119. Montana admits the allegations in Paragraph 119.
120. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 120 and denies them on that basis.
121. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 121 and denies them on that basis.
122. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 122 and denies them on that basis.
123. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 123 and denies them on that basis.
124. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 124 and denies them on that basis.
125. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 125 and denies them on that basis.
126. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 126 and denies them on that basis.
127. Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegations in Paragraph 127 and denies them on that basis.

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128. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 128 and denies them on that basis.
129. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 129 and denies them on that basis.
130. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 130 and denies them on that basis.
131. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 131 and denies them on that basis.
132. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 132 and denies them on that basis.
133. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in the first and second sentences of Paragraph 133
and denies them on that basis. The allegations in the third sentence of Paragraph
133 purport to describe and characterize an article reported by Idaho Department
of Fish and Game, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or
context of the article.
134. Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegations in Paragraph 134 and denies them on that basis.

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135. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 135 and denies them on that basis.

136. The allegations in Paragraph 136 purport to describe and characterize
Creel. (2021), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or
context of the article.

137. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 137 and denies them on that basis.

138. Montana admits the allegations in Paragraph 138.

139. Montana admits the allegations in Paragraph 139.

140. Montana admits the allegations in Paragraph 140.

141. Montana lacks information and knowledge sufficient to form a belief
as to the truth of the allegations in Paragraph 141 and denies them on that basis.

142. Montana admits the allegations in Paragraph 142.

143. The allegations in Paragraph 143 purport to describe and characterize
Crabtree et al. (2023), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context of the article.

144. The allegations in Paragraph 144 purport to describe and characterize

a press release from the Service dated February 2, 2024, which speaks for itself

DEFENDANT-INTERVENORS’ ANSWER TO PLAINTIFFS’ COMPLAINT-20
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and is the best evidence of its contents. Montana denies any allegations
inconsistent with the plain language, meaning, or context of the press release.

Petitions to Relist Gray Wolves in the NRM, or Alternatively, List the Gray
Wolf in a Western U.S. DPS

145. Montana denies that portion of Paragraph 145 alleging the existence
of “alarming new pressures on wolves from state management in Montana, Idaho
and Wyoming” but admits the remaining allegations in Paragraph 145.

146. The allegations in Paragraph 146 purport to describe and characterize
the Plaintiffs’ petition, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain meaning,
language, and context of the petition.

147. Montana admits the allegations in Paragraph 147.

148. Montana admits the allegations in Paragraph 148.

149. Montana admits the allegations in Paragraph 149.

150. Montana admits the allegations in Paragraph 150.

151. Montana admits the allegations in Paragraph 151.

The Service’s Not-Warranted Finding

152. Montana admits the allegations in Paragraph 152.

153. Montana admits the allegations in Paragraph 153.

154. Montana admits the allegations in Paragraph 154.

155. Montana admits the allegations in Paragraph 155.

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156. Montana admits the allegations in Paragraph 156.

157. The allegations in Paragraph 157 purport to describe and characterize

the Service’s Finding, which speaks for itself and is the best evidence of its

contents. Montana denies any allegations inconsistent with the plain meaning,

language, and context of the Finding.

158. The allegations in Paragraph 158 purport to describe and characterize

the Service’s Finding, which speaks for itself and is the best evidence of its

contents. Montana denies any allegations inconsistent with the plaint meaning,

language, and context of the Finding.

159. Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegation in Paragraph 159 and denies them on that basis.

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Montana admits the allegations in Paragraph 160.
Montana admits the allegations in Paragraph 161.
Montana admits the allegations in Paragraph 162.
Montana admits the allegations in Paragraph 163.
Montana admits the allegations in Paragraph 164.
Montana admits the allegations in Paragraph 165.
Montana admits the allegations in Paragraph 166.

Montana admits the allegations in Paragraph 167.

DEFENDANT-INTERVENORS’ ANSWER TO PLAINTIFFS’ COMPLAINT-22
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168.

The allegations in Paragraph 168 purport to describe and characterize

the SSA and Cassidy et al (2023), which speak for themselves and are the best

evidence of their contents. Montana denies any allegations inconsistent with the

plaint meaning, language, and context of those documents.

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179.

Montana admits the allegations in Paragraph 169.
Montana admits the allegations in Paragraph 170.
Montana admits the allegations in Paragraph 171.
Montana admits the allegations in Paragraph 172.
Montana admits the allegations in Paragraph 173.
Montana admits the allegations in Paragraph 174.
Montana admits the allegations in Paragraph 175.
Montana admits the allegations in Paragraph 176.
Montana admits the allegations in Paragraph 177.
Montana admits the allegations in Paragraph 178.

Montana admits the allegations in the first two sentences of Paragraph

179. The allegations in the third sentence of Paragraph 179 purport to describe and

characterize vonHoldt (2023), which speaks for itself and is the best evidence of its

contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context of the article.

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180. The allegations in Paragraph 180 purport to describe and characterize
vonHoldt (2023), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning or
context of the article.

181. Montana admits the allegations in Paragraph 181.

182. Montana admits the allegations in Paragraph 182.

183. Montana denies the allegations in Paragraph 183.

184. Montana admits the allegations in Paragraph 184.

185. Montana admits the allegations in Paragraph 185.

186. Montana admits the allegations in Paragraph 186.

187. Montana admits the allegations in Paragraph 187.

188. Montana admits the allegations in Paragraph 188.

189. Montana admits the allegations in Paragraph 189.

190. Montana admits the allegations in Paragraph 190.

191. Montana admits the allegations in Paragraph 191.

FIRST CLAIM FOR RELIEF
(Violation of the ESA — Five Threat Factors)

192. Montana incorporates all preceding paragraphs in response to
Paragraph 192.
193. The allegations in Paragraph 193 purport to describe and characterize

16 U.S.C. § 1533(a)(1), which speaks for itself and is the best evidence of its

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contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context of the statute.

194. Montana denies the allegations in Paragraph 194.

195. Montana denies the allegations in Paragraph 195.

SECOND CLAIM FOR RELIEF
(Violation of the ESA — Best Available Science)

196. Montana incorporates all preceding paragraphs in response to
Paragraph 196.

197. The allegations in Paragraph 197 purport to describe and characterize
Section 4(b)(1)(A), 16 U.S.C. § 1533 (b)(1)(A), which speaks for itself and is the
best evidence of its contents. Montana denies any allegations inconsistent with the
plain language, meaning or context.

198. Montana denies the allegations in Paragraph 198.

199. Montana denies the allegations in Paragraph 199.

THIRD CLAIM FOR RELIEF
(Violation of the ESA — Significant Portion of Its Range)

200. Montana incorporates all preceding paragraphs in response to
Paragraph 200.
201. The allegations in Paragraph 201 purport to describe and characterize

16 U.S.C. §§ 1533(a)(1), 1532(20), which speaks for itself and is the best evidence

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of its contents. Montana denies any allegations inconsistent with the plain
language, meaning or context.

202. Montana denies the allegations in Paragraph 202.

203. Montana denies the allegations in Paragraph 203.

204. Montana denies the allegations in Paragraph 204.

REQUEST FOR RELIEF

The remainder of the Complaint constitutes Plaintiffs’ request for relief, to
which no response is required. To the extent that a response is required, Montana
denies the Plaintiffs’ are entitled to the relief they request or to any relief
whatsoever.

GENERAL DENIAL

Montana denies any allegations of the Plaintiffs’ Complaint, whether

express or implied, that are not specifically admitted, denied, or qualified herein.
AFFIRMATIVE DEFENSES

Defendant-Intervenor Montana asserts the following defenses:

1. Plaintiffs have failed to state a claim or claims upon which relief can
be granted.
2. This Court lacks subject matter jurisdiction over some or all of the

claims asserted.

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3. Plaintiff's have failed to join a necessary party under Fed. R. Civ. P.
19.

4. No act or omission of any Defendant caused a violation of the
Plaintiffs’ federal rights, privileges, or immunities.

The above-listed defenses are asserted in good faith without the benefit of
discovery and for the purposes of avoiding waiver. If Defendant-Intervenor later
becomes aware that the evidence does not support any of the above-listed defenses,
Defendant-Intervenor will withdraw these defenses.

PRAYER FOR RELIEF

Defendant-Intervenor Montana respectfully requests that this Court dismiss
Plaintiffs’ Complaint in its entirety and order such further relief as it deems
appropriate.

DATED this 24th day of September, 2024.

/s/ Alexander R. Scolavino Ill
Alexander R. Scolavino III
Agency Legal Counsel

Jeffrey M. Hindoien
Chief Legal Counsel

DEFENDANT-INTERVENORS’ ANSWER TO PLAINTIFFS’ COMPLAINT-27
